         Case 1:13-mc-00712-BAH Document 62 Filed 09/07/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 IN RE APPLICATION OF
 JASON LEOPOLD TO UNSEAL
 CERTAIN ELECTRONIC
 SURVEILLANCE APPLICATIONS
 AND ORDERS
                                                      Misc. Action No. 13-mc-00712 (BAH)

                                      NOTICE OF APPEAL

       Notice is hereby given that the Reporters Committee for Freedom of the Press and Jason

Leopold, petitioners in the above-named case, hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from (1) this Court’s order of February 26, 2018

granting in part and denying in part Jason Leopold’s Petition to Unseal Records and Reporters

Committee for Freedom of the Press’s Application to Unseal and for Other Appropriate Relief

(Dkt. #53), and (2) this Court’s order of August 16, 2018 denying Petitioners’ motion for

reconsideration (Dkt. #61). This notice of appeal is timely pursuant to D.C. Circuit Rule

4(a)(4)(A)(iv) (where a motion “to alter or amend the judgment under Rule 59” is timely filed,

“the time to file an appeal runs for all parties from the entry of the order disposing of the last

such remaining motion.”).

Dated: September 7, 2018                                Respectfully submitted,

                                                        /s/ Katie Townsend
                                                        Katie Townsend
                                                        D.C. Bar No. 1026115
                                                        THE REPORTERS COMMITTEE FOR
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                                                  1
Case 1:13-mc-00712-BAH Document 62 Filed 09/07/18 Page 2 of 3




                                  Counsel for the Reporters Committee for
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                              2
         Case 1:13-mc-00712-BAH Document 62 Filed 09/07/18 Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 7, 2018, an electronic copy of the foregoing Notice of

Appeal was filed with the Clerk of Court for the United States District Court for the District of

Columbia using the Court’s CM/ECF system and was served electronically upon all parties in the

case. I certify that all participants in the case are CM/ECF users and that service will be

accomplished by the CM/ECF system.


                                                      /s/ Katie Townsend
                                                      Katie Townsend




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